IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION

PETERSON CONTRACTORS, INC.,

 

 

Plaintiff, No. C14-0063
vs. RULING ON MOTIONS FOR
THE TRAVELERS INDEMNITY PARTIAL S ARY GMENT
COMPANY,
Defendant.
TABLE OF CONTENTS
I, INTRODUCTION «ook eee eens
Il. PROCEDURAL HISTORY ................. cece eee e eee
Hl, RELEVANT FACTS .. 0.0.0.0... 0. cee eee eens
A. The Project... 0... ee eens
B. Cofferdam Failure ........ Le ee eee ee eee eee
C. State Lawsuit 000 ee ee ee eens
D. Insurance... 6 te ee eens
IV. MOTIONS FOR PARTIAL SUMMARY JUDGMENT .............4.
V. DISCUSSION .. 0000. een eens
A. Was the University's Loss of Use Claim Caused by an
“Occurrence?” ooo ee eee eens
B. Does the University's Loss of Use Claim Constitute
“Property Damage?” «000. ee eee
C. Does the University's Loss of Use Claim Fall Within an Exclusion
tothe Policy? ©... teens
VI, ORDER .. 1... en een eens

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 1 of 19
I, INTRODUCTION

This matter comes before the Court on the Motion for Partial Summary Judgment
(docket number 21) filed by Plaintiff on December 16, 2014, the Resistance (docket
number 26) filed by Defendant on January 27, 2015, and the Reply (docket numbers 27
and 28) filed by Plaintiff on February 3.

Also before the Court is the Motion for Partial Summary Judgment (docket number
29) filed by Defendant on April 20, the Resistance (docket number 32) filed by Plaintiff
on May 22, and the Reply (docket number 36) filed by Defendant on June 5.

Pursuant to Local Rule 7.c, the motions will be decided without oral argument.

II, PROCEDURAL HISTORY

On May 20, 2014, Plaintiff Peterson Contractors, Inc. (“PCI”) filed a complaint
against Defendant The Travelers Indemnity Company (“Travelers”), seeking damages for
breach of contract. PCI claims Travelers wrongfully failed to indemnify PCI for money
it paid to a third-party to settle a claim for property damages arising from a cofferdam
collapse on May 16, 2007. Travelers filed an answer on July 14, 2014, denying the
material allegations and asserting certain affirmative defenses.

On October 16, 2014, the Court adopted a proposed Scheduling Order and
Discovery Plan submitted by the parties. Also at that time, the case was referred to me
for the conduct of all further proceedings and the entry of judgment, in accordance with
28 U.S.C. § 636(c) and the consent of the parties. After consulting with counsel, the case
was scheduled for trial on November 16, 2015.

On December 16, 2014, PCI timely filed the instant motion for partial summary
judgment. PCI argues that there are no genuine issues of material fact, and the Court
should find, as a matter of law, that Travelers breached the insurance contracts by failing

to defend and indemnify PCI. On April 20, 2015, Travelers timely filed its motion for

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 2 of 19
partial summary judgment, asking the Court to summarily dismiss PCI's “loss of use”
claim.
HT. RELEVANT FACTS
A. The Project

On December 21, 2006, the Board of Regents for the State of Iowa contracted with
Maxwell Construction Company, Inc. (“Maxwell”) for the construction of a chilled water
project. The purpose of the project was to allow the University of Iowa (“the University”)
to use an existing chilled water facility on one side of the Iowa river to supply chilled
water to the campus facilities on the other side of the river. The cost of the project was
approximately $5.25 million. The project, known as the North Chilled Water River
Crossing, included the construction of a cofferdam across the Iowa River to facilitate the
installation of the chilled water piping in the riverbed. On January 22, 2007, Maxwell and
PCI executed a subcontract, which included the installation of the cofferdam across the
Iowa River by PCI. The cost of the subcontract was approximately $715,000. The project
was to have been completed by July 2, 2007.

B. Cofferdam Failure

On May 16, 2007, the cofferdam being constructed by PCI failed. According to
its later claim for damages, PCI had performed and was paid for 34.26% of the cofferdam
work before its collapse. Following the cofferdam failure, PCI was instructed to recover
and rebuild the cofferdam. In September 2007, however, Maxwell terminated PCI and
contracted with Iowa Bridge & Culvert, L.C. (“IBC”) to complete the work. IBC
completed construction of the cofferdam, but only after the University approved substantial
changes to the cofferdam design. These changes were not part of the Project plans and
specifications before Maxwell terminated PCI.

On July 19, 2007, the University wrote to Maxwell, responding to Maxwell's

earlier letter making a claim for payment. The University's letter notes that “time is of

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 3 of 19
the essence” on the project, and gave Maxwell notice that the University intended to seek
payment from Maxwell “for damages in the form of costs and expenses incurred as a result
of the delay of this project's completion.” (Pl. App. 119) The project was not completed
until the summer of 2009. Because the pipe installed as part of the project could not be
used until the project was completed, it was necessary for the University to pay for
temporary chillers to cool the east side campus facilities during the summers of 2007 and
2008. On October 23, 2009, the University's Deputy General Counsel wrote to Maxwell's
attorney, attaching a claim for “[e]xtra expenditures resulting from initial cofferdam failure
and resulting breach of contract by not completing the Work within the contract period.”
(Pl. App. 137) The University's claims totaled approximately $1.26 million, with
approximately $835,000 of that amount represented by the rental of temporary chillers.

Also included in the University's damage estimate was $75,000 for “[rJecovery of
project site following City of Iowa City siphon project.” During the summer of 2008, the
Iowa River suffered substantial flooding. Because the temporary replacement cofferdam
was still in place at that time, it is claimed that the City of Iowa City sustained sanitary
sewer system damage in the amount of $75,000.

C. State Lawsuit

On April 6, 2010, Maxwell sued the University in the Iowa District Court for
Johnson County, also naming PCI and others as defendants. Maxwell claimed PCI
breached its contract “by failing to complete its work under that contract on the subject
project ina timely fashion.” According to the state court petition, Maxwell employed IBC
to complete the work for a total contract price of approximately $1.35 million, which
exceeded the price in the PCI subcontract by approximately $725,000. Maxwell asked that
judgment enter against PCI for that amount.

There were multiple counterclaims and cross-claims filed in the state court action.

In its answer and counterclaim, PCI denied any fault for the cofferdam failure and asserted

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 4 of 19
that Maxwell was at fault for providing PCI with a deficient cofferdam design. PCI
claimed that it was owed for the costs it incurred to recover and rebuild the cofferdam after
its collapse, in the approximate amount of $732,131." The University sued PCI for
negligence, and claimed its damages exceeded $1.2 million.

In December 2012, Maxwell, the University, PCI, and the other defendants in the
state court action reached a settlement of all claims. As part of the settlement agreement,
PCI paid Maxwell $439,875,- and released its claims against all other parties, including
PCI's claim that Maxwell owed it $610,000.° During the course of the state court action,
PCI incurred approximately $644,000 in legal fees."

D. Insurance

On July 14, 2006, PCI purchased a commercial general liability (“CGL”) insurance
policy from Travelers. On July 10, 2006, PCI purchased a commercial excess liability
(“umbrella”) insurance policy from Travelers. Both policies had a policy period from July
1, 2006 through July 1, 2007. The CGL policy provided $1 million of coverage for each
occurrence, and the umbrella policy provided additional coverage to an aggregate of

$10 million.

 

That claim was later reduced to approximately $610,000.

2 PCI paid on behalf of itself and Pro-firm, L.L.C. Pro-firm contributed to the
settlement by paying PCI an undisclosed amount.

3 Also as part of the settlement, Maxwell paid IBC the sum of $125,000, and
released its claims against all of the other defendants. The University paid Maxwell
$239,598.05, and released its claims against all of the other defendants, including PCI.
Shive-Hattery, Inc. paid the University $86,250. NNW, Inc., paid Maxwell the sum of
$60, 125 and paid the University $477,500. V.J. Engineering paid the University $86,250.

4 Of this amount, approximately $430,000 in legal fees and expenses were incurred
before PCI's counsel wrote to Travelers on May 15, 2012 requesting an opportunity to
meet “to discuss coverage issues.”

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 5 of 19
After the cofferdam collapsed on May 16, 2007, PCI immediately notified
Travelers. PCI asserts in its statement of facts that “Scott Skifstad from Travelers
conferred with PCI regarding the cofferdam failure and informed PCI that there was no
coverage for the University's claims.” In support of its allegation, PCI refers to paragraph
45 of its complaint and Travelers' answer to the complaint. In its complaint, PCI claims
that Skifstad “incorrectly” informed PCI that there was no insurance coverage. In its
answer to the complaint, Travelers does not specifically admit or deny that Skifstad told
PCI there was no coverage. However, Travelers admits that Skifstad conferred with PCI,
and denies PCI's allegation that a statement denying coverage would be “incorrect.”

Both parties also cite an email from Lauren Call, a safety director for PCI, to
Cordell Peterson, another PCI employee, dated July 23, 2007. Call reports that she and
Kevin Boyle, another PCI employee, had a discussion with Skifstad that afternoon. The
email discusses whether Travelers would have to defend the University as an additional
insured, or any engineering firm which might claim they were an agent of the University.
The email states that “[t]he U of I could file a counter claim against PCI and there would
be no coverage for this.” (Pl. App. 225)

Apparently, PCI did not immediately tender the defense of the state court action to
Travelers when PCI was sued in April 2010. After “reexamining” the issue, PCI provided
Travelers with a written request for coverage on May 15, 2012 — after the case had been
pending for two years. Travelers denied PCI’s request for coverage on June 20, 2012.
Travelers confirmed its coverage denial in letters dated July 12, 2012 and September 20,
2012. On November 20, 2012, PCI notified Travelers that the University had recently
made an additional claim for damages in the amount of $75,000, relating to damages to

. . 5 . . .
the City’s sanitary sewer system. Travelers confirmed its denial of coverage in a letter

 

5 . a
Travelers does not seek summary judgment on this issue.

6

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 6 of 19
dated February 14, 2013. Travelers did not contribute any amount toward the settlement
of the state court litigation.
IV. MOTIONS FOR PARTIAL SUMMARY JUDGMENT

In its motion for partial summary judgment, PCI asks the Court to determine, as a
matter of law, that Travelers breached the insurance contracts by failing to defend and
indemnify PCI for property damage claims made against it. In its complaint, PCI
calculates its damages by first noting that it was “defending against claims totaling
approximately $1,985,000.00.” (Maxwell was claiming approximately $725,000,
representing the additional amount Maxwell was required to pay IBC to complete the work
on the subcontract; and the University was claiming approximately $1.26 million against
all other parties in the state court action, representing additional expenditures resulting
from the cofferdam failure and the failure to complete the work within the contract period.)
PCI claims it “paid” approximately $1,050,000 to settle the claims, consisting of a cash
payment to Maxwell in the amount of $439,875, and PCI giving up its claim against
Maxwell in the approximate amount of $610,000. (Some amount of PCI's cash payment
was paid by Pro-firm, L.L.C.) PCI paid the University nothing. PCI reasons that because
it “paid” 58.96% of the total damages asserted by Maxwell and the University in the state
court action, Travelers was obligated to indemnify PCI for 58.69% [sic] of the amount
“paid” by PCI, or approximately $616,000. The motion is a “partial” motion for
summary judgment because PCI concedes that the amount of its damages cannot be
determined summarily.

In its motion for partial summary judgment, Travelers asks the Court to determine,
as a matter of law, that it was not required to defend against the University's “loss of use”
claim, or indemnify PCI for any amount which PCI may have paid to settle the
University’s claim. Travelers disputes whether the cash payment made by PCI to Maxwell

has any connection to the University's loss of use claim. (To settle the state court action,

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 7 of 19
the University paid Maxwell $239,598.05, while receiving $650,000 from other parties
to that action, not including PCI.) The motion is a “partial” motion for summary
judgment, however, because Travelers does not seek summary judgment regarding the
$75,000 claim for damage to the sanitary sewer system, or to defense costs incurred after
PCI notified Travelers of the additional claim on November 20, 2012.
V. DISCUSSION

The CGL policy issued by Travelers to PCI obligated Travelers to “pay those sums
that the insured becomes legally obligated to pay as damages because of ‘bodily injury’ or
‘property damage.'” CGL Policy, Section I, { (1)(a). (PI. App. 026) The obligation to
indemnify only applies if the property damage “is caused by an ‘occurrence.'” /d.,
Section I, 4 1(b)(1). PCI asserts that the University's loss of use claim is property damage
caused by an occurrence, and falls within the coverage provided by the policy. Travelers
argues, however, that even if PCI's payment to Maxwell is viewed as a payment to the
University for “property damage” caused by an “occurrence,” the claim is nonetheless
excluded by exclusion (m) of the policy.

A. Was the University's Loss of Use Claim Caused
by an “Occurrence?”

The first issue in this case is whether the University's claims arise from “property
” ‘ yes . . 6 ;
damage” caused by an “occurrence” within the meaning of the policy. The insurance

policy defines an “occurrence” as “an accident.”

 

6 In calculating its damages in the complaint, PCI refers to claims made by
Maxwell, the amount which it paid to Maxwell, and PCI's abandoned claim against
Maxwell. In arguing that Travelers had a duty to defend and indemnify in this case,
however, PCI's briefing focuses entirely on the University's claim for loss of use and the
claim for damage to the sanitary sewer system. That is, PCI apparently does not claim
Travelers had a duty to defend or indemnify PCI for the breach of contract claim made by
Maxwell.

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 8 of 19
“Occurrence” means an accident, including continuous or
repeated exposure to substantially the same general harmful
conditions.

CGL Policy, Section V, § 13. (Pl. App. 039) The umbrella policy contains identical
language. The policy does not, however, define what constitutes an “accident.” Black's
Law Dictionary (10th ed. 2014) defines “accident” as “[a]n unintended and unforeseen
injurious occurrence; something that does not occur in the usual course of events or that
could not be reasonably anticipated; any unwanted or harmful event occurring suddenly,
as a collision, spill, fall, or the like, irrespective of cause or blame.” The Iowa Supreme
Court has defined an “accident” as “an undesigned, sudden, and unexpected event, usually
of an afflictive or unfortunate character, and often accompanied by a manifestation of
force.” Pursell Const., Inc. v. Hawkeye-Security Ins. Co., 596 N.W.2d 67, 70 (lowa
1999) (quoting Central Bearings Co. v. Wolverine Ins. Co., 179 N.W.2d 443, 448 (Iowa
1970)). See also First Newton Nat. Bank v. General Cas. Co. of Wisconsin, 426 N.W.2d
618, 625 (Iowa 1988) (“An accident, happening, event, or exposure to conditions is an
unexpected and unintended ‘occurrence’ so long as the insured does not expect or intend
both it and some injury.”).

Travelers argues, however, that the cofferdam failure resulted from defective
construction by PCI and, therefore, is not an “occurrence” within the meaning of the
policy. In support of its argument, Travelers cites Pursell Const., supra, and Liberty
Mutual Ins. Co. v. Pella Corp., 650 F.3d 1161 (8th Cir, 2011). I believe, however, that
the facts in those cases are materially different than those presented here.

In Pursell, the insured was hired by a development company to provide cement
work for two houses being built in a floodplain. The developer sued Pursell when it was
discovered that the lowest level of each house fell below the floodplain, in violation of a
city ordinance, thereby requiring extensive alterations. Pursell then sued its CGL insurer,

claiming Hawkeye-Security had a duty to defend and indemnify. The Iowa Supreme Court

9

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 9 of 19
concluded that the developers’ claim was “essentially one for defective workmanship,” and
there was no “accident” or “occurrence.” 596 N.W.2d at 70. “[MJere faulty
workmanship, standing alone, cannot constitute an occurrence as defined in the policy, nor
would the cost of repairing the defect constitute property damages.” /d. at 71.

In the second case cited by Travelers, Pella was sued by persons claiming that
windows manufactured by Pella leaked, causing premature wood rot and damage to their
structures. Citing Pursell, the Eighth Circuit Court of Appeals concluded that there was
no “occurrence” and, therefore, Liberty Mutual had no obligation to defend or indemnify.
See also W.C. Stewart Const., Inc. v. Cincinnati Ins. Co., 770 N.W.2d 850 (Iowa App.
2009) (Table), 2009 WL 928871 (when a subcontractor was sued for failing to properly
perform grading services, there was no “occurrence” triggering coverage).

In each of the cases cited above, the insured had completed its work prior to any
claim. That is, in each case a third-party claimed that the insured’s completed work or
product was defective, thereby causing the third-party damages. There was no sudden or
calamitous event. In the instant action, however, PCI was in the midst of building a
cofferdam, when it collapsed. I believe this “undesigned, sudden, and unexpected event”
may properly be considered an “accident.” Pursell Const., 596 N.W.2d at 70.
Obviously, it was an “unintended and unforeseen” event, and an “unwanted or harmful
event occurring suddenly.” See Black's Law Dictionary (10th ed. 2014). Accordingly,
I conclude that the cofferdam failure in this case was an “accident,” within the common
meaning of the term — “irrespective of cause or blame,” Pursell Const., 596 N.W.2d at
70 — and, therefore, an “occurrence” within the meaning of the policy.

In its brief, however, Travelers adds an additional wrinkle to the analysis. That is,
Travelers argues that the University's claim arises from PCI's failure to complete its work
in a timely manner, not from the failure of the cofferdam per se. Travelers does not cite

any authority for this additional argument, and I find it unpersuasive. The University's

10

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 10 of 19
claims arise from “extra expenditures” which it incurred when the project was not
completed on time. The delay in completion was caused, at least in part, by the cofferdam
failure. As discussed above, the cofferdam failure constitutes an “occurrence” within the
meaning of the policy. Accordingly, I conclude that the University's claims were caused
by an “occurrence.”

B. Does the University's Loss of Use Claim Constitute
“Property Damage?”

Having concluded the University's claims were caused by an “occurrence,” the
Court must next determine whether the claims constitute “property damage” within the
meaning of the policy. “Property damage” is defined in the policy as follows:
“Property damage” means:
(a) Physical injury to tangible property, including all resulting
loss of use of that property. All such loss of use shall be

deemed to occur at the time of the physical injury that caused
it; or

(b) Loss of use of tangible property that is not physically
injured. All such loss of use shall be deemed to occur at the
time of the “occurrence” that caused it.

CGL Policy, Section V, 17. (Pl. App. 040) Here, the University claims that the failure
of the cofferdam was one cause for the delay in completing the chiller project. Because
its use of the pipes transporting chilled water across the river was delayed for two years,
the University was required to rent temporary chillers during the summers of 2008 and
2009, at a cost of approximately $835,000. Property damage is defined broadly in the
policy to include loss of use of “tangible property,” whether or not the tangible property
sustained a “physical injury.”

The Iowa Supreme Court addressed claims for loss of use in First Newton Nat. Bank

v. General Cas. Co. of Wisconsin, 426 N.W.2d 618 (Iowa 1988). There, the bank was

11

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 11 of 19
sued by two farm families who alleged they had “lost all of their real and nearly all of their
personal property” as a result of their financial transactions with the bank, and would “lose
profits that would have been realized from their farming operations.” Jd. at 626.
Interpreting policy language which was nearly identical to the definition of “property
damage” found in this case, the Court concluded that the allegations were sufficient to
meet the definition of “property damage,” and that physical injury to the tangible property
was not required before its loss of use is covered. /d. Compare Continental Ins. Co. v.
Bones, 596 N.W.2d 552, 556 (Iowa 1999) (finding that when an insurance policy does not
include the second part of the definition of property damage — Section V, { 17(b) in this
case — then “loss-of-use damages must arise from physical damage or destruction of
tangible property”).

I believe that the pipes which were being installed as part of the chiller project
constituted tangible property within the common meaning of that term. Accordingly, the
loss of use of the chiller pipes, and the resulting cost to the University, constitutes
“property damage” within the meaning of the policy. That is, I conclude that the
University's claim for loss of use caused by the delay in completing the chiller project
constitutes property damage caused by an occurrence within the meaning of the policy.

C. Does the University's Loss of Use Claim Fall Within an Exclusion
to the Policy?

While the University's claim for loss of use constitutes property damage caused by
an occurrence within the meaning of the policy, that does not end the analysis. Travelers
argues that exclusion (m) of the policy excludes coverage. Exclusion (m) “is commonly
called the ‘impaired property' exclusion, and is included in a policy to prevent the insured
from claiming economic losses resulting from the insured's work or work product.”
Transcontinental Ins. Co. v. Ice Systems of America, Inc., 847 F. Supp. 947, 950 (M.D.
Fla. 1994). Exclusion (m) states:

12

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 12 of 19
This insurance does not apply to:

m. “Property Damage” to “impaired property” or property
that has not been physically injured, arising out of:

(1) A defect, deficiency, inadequacy or dangerous
condition in “your product” or “your work”; or

(2) A delay or failure by you or anyone acting on
your behalf to perform a contract or agreement
in accordance with its terms.

This exclusion does not apply to the loss of use of other property arising out
of sudden and accidental physical injury to “your product” or “your work”
after it has been put to its intended use.

CGL Policy, Section I, { 2(m). (Pl. App. 030)
The CGL defines “impaired property” as follows:

“Impaired property” means tangible property, other than
“your product” or “your work,” that cannot be used or is less
useful because:

(a) it incorporates “your product” or “your work”
that is known or thought to be defective,
deficient, inadequate or dangerous; or

(b) your have failed to fulfill the terms of a contract
or agreement;

if such property can be restored to use by:

(a) the repair, replacement, adjustment or removal
of “your product” or “your work”; or

(b) your fulfilling the terms of the contract or
agreement.

CGL Policy, Section V, { 8. (Pl. App. 038)

13

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 13 of 19
In this case, the piping which was intended to be used with the chiller project meets
the policy definition of “impaired property” and is “property that has not been physically
injured.” Accordingly, exclusion (m) provides that the “property damage” (i.e., the
University's loss of use damages) is not covered by the policy if they arise from “a defect,
deficiency, inadequacy or dangerous condition” of PCI's work, or from a delay or failure
in PCI “to perform a contract or agreement in accordance with its terms.” Travelers
argues that the University's claim for loss of use was caused by a delay in PCI performing
the work required by its subcontract and, therefore, falls within the exclusion to coverage.
PCI argues that because the University alleged PCI's negligence — rather than breach of
contract — in the state court action, the claim does not fall within the exclusion.

In its answer filed in the state court action brought by Maxwell, the University filed
a cross-claim against PCI. Count I of the cross-claim is entitled “Negligence.” In support
of its claim, however, the University also alleges that PCI breached its contract by failing
to construct the cofferdams in compliance with the project designs.

7. Maxwell Construction entered into a sub-contract with

Peterson Contractors to work on the project.

8. Peterson Contractors under the contract with Maxwell
Construction was required to construct coffer dams during the
project to enable construction of the project.

9. Peterson Contractors and Maxwell Construction
changed the design and plans for the construction of the coffer
dams.

10. Peterson Contractors and Maxwell Construction failed
to build the coffer dams according to the design and plans.

11. The coffer dams constructed by Peterson Contractors
and Maxwell Construction failed.

14

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 14 of 19
12. Peterson Contractors was negligent in the design and
construction of the coffer dams.

The University's Cross-Claim against PCI (Pl. App. 220). Travelers argues that exclusion
(m) applies to the facts in this case, regardless of the theory of liability asserted by the
University.

This issue was recently addressed by the court in M Consulting and Export, LLC
v. Travelers Cas. Ins. Co. of America, 2 F. Supp. 3d 730 (D. Md. 2014). There, an
exporter contracted with a wine wholesaler to provide 500 cases of wine for shipment to
West Africa. When the shipping container arrived, however, it only contained 300 cases.
The exporter then sued the wholesaler for breach of contract and negligence, and obtained
a default judgment in state court. The exporter then filed an action against Travelers
Insurance Company, which insured the wholesaler at the time. Travelers argued, among
other things, that even if the exporter's loss fell within the general scope of coverage, the
loss was excluded from coverage under exclusion (m). The exporter argued that exclusion
(m) was inapplicable because the underlying lawsuit involved a claim of negligence against
the insured. Applying Maryland law, the court rejected the exporter's argument.

Nevertheless, Plaintiff's characterization of the suit is not
dispositive of the matter. As this Court has previously noted,
under Maryland law, the theory of liability employed by the
Plaintiff does not affect the analysis. See Insights Trading
Group, 2010 WL 2696750, at *5 (“Courts have found that
litigants cannot skirt around an exclusion clause merely by
relying upon certain alternative theories; indeed, an exclusion
clause must apply ‘irrespective of the theory of liability by
which the [the claimant] seeks redress for his injury, as the
(“arising out of”] policy exclusion is not concerned with
theories of liability.’” (quoting EDP Floors, 311 Md. at 230,
533 A.2d 682.)); Travelers Indem. Co. of Am. v. Coleman
Auto. of Columbia, LLC, 236 F. Supp. 2d 513, 516 (D. Md.
2002) (“It is the substance of the underlying claim, not its
label, that controls in duty-to-defend and coverage cases.”).

15

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 15 of 19
Rather, the main focus is the “instrumentality of the injury.”
Id. The exclusion at issue here is directed at an injury arising
from the deficient performance of a contract. As noted above,
despite Plaintiff's characterization of this action as one
involving negligence, the loss for which Plaintiff seeks to
recover is the result of Cork N Bottle failing to perform under
the contract. Cf. Def.'s Mot. Summ. J. Ex. B § 25 (“[Cork
N Bottle] owed to Plaintiff as purchaser of the shipment, a
duty of due care. . . .” (emphasis added) (quoting Plaintiff's
Complaint in underlying Maryland state action, M Consulting
and Export, LLC v. Wine & Spirits Expo, LLC, NO.
24-C11-2261)).

M Consulting, 2 F. Supp. 3d at 740.

Applying Minnesota law, the court in Corn Plus Co-Op. v. Continental Cas. Co.,
516 F.3d 674 (8th Cir. 2008), found that the “impaired property exclusion” applied in
similar circumstances. In that case, Corn Plus contracted with a general mechanical
contractor to perform welding work in an expansion of its ethanol facility. Because of the
contractor's defective welding of pipes, corn mash became contaminated and required the
plant to be shut down during repairs. In a state court action between the two parties, the
contractor stipulated to negligence in its welding. Jd. at677. After reaching a settlement,
Corn Plus sued the contractor's insurer, claiming damages. The district court ruled that
property damage caused by the contractor's faulty welding triggered coverage under the
insurance policy. The Court further concluded, however, that policy exclusions
“precluded coverage for repairing the defective welding and its consequential cost, as well
as for loss of use of the facility.” Jd. at 678. The Eighth Circuit Court of Appeals
affirmed. Jd. at 680 (“We conclude that the district court did not err in finding that the
damage to your work exclusion and the impaired property exclusion bar coverage for the
costs associated with repairing the faulty welding and for loss of the facility's use due to

the incorporation of the defective welds.”).

16

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 16 of 19
The parties have not cited any Iowa authority directly on point, and the Court has
found none. In Westview, Inc. v. lowa Mut. Ins. Co., 728 N.W.2d 224 (table), 2006 WL
3802154 (Iowa App.), a corporation engaged in dairy operation contracted with a builder
to construct a pole barn. A wind storm knocked over the building before it was
completed, and construction was delayed. Jd. at *1. Westview sued the contractor under
theories of negligence, breach of contract, and breach of warranty. In addition to the
direct damage to the building, Westview claimed it suffered consequential damages “due
to lost milk production as a result of the delay in the construction of the pole barn.” The
contractor's insurance company, Iowa Mutual, asserted that there was no coverage for
Westview's claim of consequential damages. Iowa Mutual agreed to defend under a
reservation of rights. The attorney hired by Iowa Mutual filed a motion for summary
judgment based on the economic loss doctrine. That is, it was argued that “Westview's
claims for construction delays and improper construction were not tort claims, but rather
should be considered contract claims.” Jd. The district court agreed and dismissed the
negligence claim against the contractor. The contractor eventually signed a confession of
judgment in favor of Westview, and assigned his rights against lowa Mutual to Westview.
Westview then sued Iowa Mutual, attempting to collect on the policy. The Iowa Court of
Appeals concluded that because “Westview was seeking damages based on loss of use of
dairy cows, which were not physically injured in the wind storm, due to a delay or failure
by [the contractor] to perform a contract in accordance with its terms,” exclusion (m)
applied and there was no coverage under the policy.

In Spirtas Co. v. Nautilus Ins. Co., 897 F. Supp. 2d 790 (E.D. Mo. 2012), the
general contractor of a highway project claimed damages against a subcontractor (Spirtas)
when the subcontractor’s failure to properly demolish a bridge resulted in a delay in the
project. Spirtas filed an action against its insurance company, seeking declaratory

judgment for coverage on the claims being asserted. The Court found that the insurance

17

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 17 of 19
company “met its burden to show that the ‘impaired property exclusion,’ Exclusion m,
bars coverage because all sums involved resulted from Plaintiff's failure ‘to perform a
contract or agreement in accordance with its terms.'” Jd. at 801-02. It should be noted
that the general contractor had not yet sued Spirtas for its alleged damages, but instead had
withheld payment to Spirtas from amounts otherwise owed on the subcontract.
Accordingly, the contractor's claim was not labeled as “breach of contract” or
“negligence.”

Turning to the facts in the instant action, the “negligence” alleged by the University
in its cross-claim against PCI is the alleged failure of PCI to construct the cofferdam as
required by the subcontract. Under the circumstances of this case, I find that the
University's decision to label its claim as one of “negligence,” rather than “breach of
contract,” does not affect the coverage provided by the policy, or the application of
exclusions contained in the policy. Because the University's loss of use claim arises out
of a delay or failure by PCI to perform under the subcontract, I conclude that exclusion
(m) excludes coverage for that claim. Accordingly, PCI's motion for partial summary
judgment will be denied and Travelers’ motion for partial summary judgment will be
granted. Travelers does not seek summary judgment on property damage allegedly
sustained by the City of Iowa City, or the defense costs incurred after PCI sent a letter
regarding the claim on November 20, 2012. This case will proceed in its ordinary course
on PCI's remaining claims.

VI. ORDER

IT IS THEREFORE ORDERED as follows:

1. The Motion for Partial Summary Judgment (docket number 21) filed by
Peterson Contractors, Inc. is DENIED.

2. The Motion for Partial Summary Judgment (docket number 29) filed by The
Travelers Indemnity Company is GRANTED.

18

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 18 of 19
3. This case will proceed in its normal course on the remaining claims made by

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JONSTUART SCOLES
CHIEF MAGISTRATE JUDGE
NORTHERN DISTRICT OF IOWA

Peterson Contractors, Inc.

J;
DATED this _/ t day of July, 2015.

Case 1:14-cv-00063-JSS Document 37 Filed 07/02/15 Page 19 of 19
